     Case 4:22-cv-00164-AW-MAF Document 8 Filed 06/23/22 Page 1 of 4




               UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION


NICOLE FRIED, in her official
capacity as the Commissioner of
Agriculture, VERA COOPER,
NICOLE HANSELL, and NEILL                  No. 4:22-cv-00164-AW-MAF
FRANKLIN

              Plaintiffs,

v.

MERRICK GARLAND, in his
official capacity as Attorney General
of the United States, GARY M.
RESTAINO, in his official capacity
as Acting Director of the Bureau of
Alcohol, Tobacco, Firearms, and
Explosives, and THE UNITED
STATES OF AMERICA,

              Defendants.


     DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF
        TIME TO RESPOND TO PLAINTIFFS’ COMPLAINT

       Pursuant to Local Rules 6.1 and 7.1, Defendants hereby file this

unopposed motion for an extension of Defendants’ deadline to respond to

Plaintiffs’ Complaint, ECF No. 1, for 31 days, to and including July 25,

2022. In support thereof, Defendants state as follows:
   Case 4:22-cv-00164-AW-MAF Document 8 Filed 06/23/22 Page 2 of 4




      1.     Plaintiffs filed their Complaint on April 20, 2022. Defendants

are the United States of America and two federal officials sued in their

official capacity. Plaintiffs served the Complaint on the United States

attorney on April 25, 2022. Accordingly, pursuant to Fed. R. Civ. P.

12(a)(2), Defendants’ deadline to respond to the Complaint is June 24, 2022.

      2.     Plaintiffs claim, among other things, that certain federal

firearms statutes and regulations violate the Second Amendment. See

generally Compl. ¶¶ 63-81.

      3.     On June 23, 2022, the Supreme Court issued its decision in New

York State Rifle & Pistol Association, Inc. v. Bruen, 597 U.S. __ (2022), No.

20-843 (slip opinion attached as Exhibit 1). In Bruen, the Supreme Court

rejected the “two-step” framework for addressing Second Amendment

claims that the Eleventh Circuit and other circuits had adopted, and set forth

a different test for resolving Second Amendment claims. See Bruen,

Majority Op., at 10 & n.4 (rejecting “two-step approach” adopted by courts

of appeals, including Eleventh Circuit in GeorgiaCarry.Org, Inc. v.

Georgia, 687 F. 3d 1244, 1260, n. 34 (11th Cir. 2012)); see also Compl. ¶ 67

(acknowledging that the “two-step” approach of GeorgiaCarry.org governed

at the time of the Complaint’s filing).




                                      2
   Case 4:22-cv-00164-AW-MAF Document 8 Filed 06/23/22 Page 3 of 4




      4.     Defendants intend to file a motion to dismiss the Complaint.

Defendants request an extension of 31 days, to and including July 25, 2022,

so that Defendants can review Bruen, analyze its relevance to this case, and

apply Bruen in its forthcoming motion to dismiss.

      5.     The undersigned counsel conferred with Plaintiffs’ counsel on

June 23, 2022. Plaintiffs’ counsel indicated that Plaintiffs consent to the

relief sought in this motion.

      6.     This motion is made in good faith and not for purposes of

delay. The requested extension will not prejudice the Plaintiffs.

DATED: June 23, 2022                      Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General

                                          LESLEY FARBY
                                          Assistant Branch Director

                                          /s/ Jeremy S.B. Newman
                                          JEREMY S.B. NEWMAN
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                                          Counsel for Defendants




                                      3
   Case 4:22-cv-00164-AW-MAF Document 8 Filed 06/23/22 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that on June 23, 2022, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to all counsel of record.

      /s/ Jeremy S.B. Newman
      Trial Attorney




                                       4
